USDC IN/ND case 1:12-cv-00267-TLS-RBC document 1 filed 08/03/12 page 1 of 3


In the Northern District of Indiana 	                                In the US Circuit Court

                                                                     Cause No.:


NFN Valance
     Petitioner

       Vs.
                                                                                                   N

Matthew 25 	
      Respondent 	
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                  PETITION FOR CIVIL RIGHTS VIOLATION DAMAGES                       -;.-   ..
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       Comes now, the Petitioner, NFN Valance, Pro Se and docs hereby swear an~ffirm
                                                                             ,"      me
following: 	                                                                 1_




       1. 	 The Petitioner is and has been a resident of the Northern District of Indiana for at
            least the last two years.
       2. 	 The Respondent is and has been a business located within the Northern District of
            Indiana for at least the last two years.
       3. 	 On 21 June 2012, the Respondent, through negligence, violated the civil rights of the
            Petitioner. To wit, the Petitioner suffered a fall and injury as a result of the
            Respondent's failure to fully comply with Section 4.6. 2. of the 1991 Americans With
            Disabilities Act.
       4. 	 As a result of said negligence, the Petitioner suffered immeasurable physical pain and
            mental anguish.
       5. 	 As a result of said negligence, the Petitioner suffered a total of $20,717.30 in medical
            expenses.

         Wherefore, the Petitioner requests that this Honorable Court find that the Respondent
did fail to comply with the 1991 Americans With Disabili ties Act and that said injury through the
Respondent's negligence is a violation of the Petitioner's civil rights. The Petitioner further
requests that the Court award him both compensatory and punitive damages to the maximum
amount allowed by law, and for all other just and proper relief in these premises.
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                                  Respectfully Submitted,


                                 /ZLb'~LcL-

                                  NFN Valance
                                  1020 North Coliseum Boulevard
                                  Room 302
                                  Fort Wayne IN 46805
                                  260-310-7299
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                                 CERTIFICATE OF SERVICE

       I do hereby certify that on the yd Day of August, 2012 service of the attached Petition
was served on all parties via valid first-cl ass mail. Copies were served on:

Matthew 25
Attn: N ancy Schenkel
413 Easr Jefferson Boulevard
Fort Wayne IN 46802

Cincinnati Insurance Company
Attn: Dana Hart
PO Box 8893
Fort Wayne IN 46898


                                             By,


                                            l!Attek2-­
                                             NFN Valance
                                             1020 North Coliseum Boulevard
                                             Room 302
                                             Fort Wayne IN 46805
                                             260-310-7299
